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                              UNITED STATES OF AMERICA
                      IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION

IN RE:                              )
                                    )                 DL 18-00771
JAN A. SANDERS,                     )                 Chapter 7
                                    )                 Petition Date: 2/28/18
                                    )
            Debtor.                 )
____________________________________)
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Adversary Proceeding No. _____
                                    )
      v.                            )
                                    )                 Hon. Scott W. Dales
JAN A. SANDERS,                     )
                                    )
            Defendant.              )
____________________________________)

                   COMPLAINT TO DETERMINE DISCHARGEABILITY
                     OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A)

         The United States of America, by counsel and on behalf of the Social Security

Administration (“SSA”), complains and alleges against Jan A. Sanders (“Debtor-Defendant”) as

follows:

         1.      This adversary proceeding relates to In re: Jan A. Sanders, Debtor, Case No. DL

18-0077, Chapter 7, Western District of Michigan, Southern Division.                This Court has

jurisdiction over this matter under the provisions of 28 U.S.C. §§ 157 and 1334.

         2.      Plaintiff United States of America consents to entry of final orders or judgment by

the bankruptcy court.

         3.      This matter is a core proceeding under 28 U.S.C. § 157(b)(2)(I).
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         4.       Venue is appropriate in the Western District of Michigan under 28 U.S.C.

§ 1409(a).

         5.       Plaintiff is the United States of America acting on behalf of SSA.

         6.       Debtor-Defendant is Jan A. Sanders, an individual residing within the Western

District of Michigan.

         7.       Debtor-Defendant has been previously known as Jan Alice Jenkins and Jan A.

Sanders-Williams.

         8.       Debtor-Defendant filed a petition under chapter 7 of 11 U.S.C. §§ 101 et seq. (the

“Bankruptcy Code”) on February 28, 2018.

         9.       On March 15, 2018, Debtor-Defendant filed her bankruptcy schedules (“Schedule

A” through “Schedule J” and, collectively, the “Schedules”).

         10.      In Schedule F, Debtor-Defendant listed SSA as a creditor holding an unsecured,

non-priority claim in the amount of $180,174.00. 1

         11.      In Schedule F, Debtor-Defendant provided that the claim was incurred on

account of “alleged overpayment of benefits.”

                                    STATUTORY FRAMEWORK

         12.      The Social Security Act (the “Act”) provides that disabled persons who do not

engage in substantial gainful activity (“SGA”) are entitled to disability insurance benefits

(“DIB”) if they are insured for such benefits and meet other criteria. See 42 U.S.C. § 423(a),

(d)(1)(A), (e).




1
    SSA’s records indicate a current balance of $146,226.60.


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          13.    Disability is defined as the inability “to engage in any substantial gainful activity

by reason of any medically determinable physical or mental impairment which can be expected

to result in death or which has lasted or can be expected to last for a continuous period of not less

than 12 months.” See 42 U.S.C. §§ 423(d)(1)(A) & 1382c(a)(3)(A).

          14.    An individual is not disabled “regardless of [her] medical condition,” if she is

performing “substantial gainful activity.” See 20 CFR §§ 404.1520(b).

          15.    A non-blind individual presumptively engages in SGA if her monthly income

exceeds the following amounts during the following years:

                                        Year           Amount
                                        2002           $780
                                        2003           $800
                                        2004           $810
                                        2005           $830
                                        2006           $860
                                        2007           $900
                                        2008           $940
                                        2009           $980
                                        2010           $1000
                                        2011           $1,000
                                        2012           $1,010
                                        2013           $1,040
                                        2014           $1,070
                                        2015           $1090
                                        2016           $1130
                                        2017           $1170

See SSA Official Website, http://www.ssa.gov/oact/cola/sga.html (last visited on June 11, 2018).

    DEBTOR-DEFENDANT AND HER CHILDREN RECEIVED BENEFITS FROM SSA

          16.    In August 1997, Debtor-Defendant filed an application for disability insurance

benefits (“DIB”) under Title II of the Social Security Act. See Exhibit A. 2


2
    Cites to a page of an Exhibit do not include the cover page.

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       17.     SSA found Debtor-Defendant to be disabled as of approximately October 1996.

She began receiving benefits in June 1998, retroactive to her entitlement date. See Exhibit B at

2.

       18.     Debtor-Defendant was regularly advised of her obligation to report any work

activity to SSA. For example, in connection with the filing of her application, Debtor-Defendant

agreed “to notify the Social Security Administration if . . . I go to work whether as an employee

or a self-employed person”… because such event “may affect my eligibility to disability

benefits.” See Exhibit A at 2.

       19.     On or about June 20, 2005, SSA informed Debtor-Defendant that her disability

was continuing based on income information she provided to the SSA. In a section of the letter

titled “THINGS TO REMEMBER FOR THE FUTURE,” SSA informed Debtor-Defendant that

she “must tell [SSA] right away about any changes that may affect [her] benefits” and that if she

did not, she “may have to repay any benefits [she was] not due.” Two of the changes that Debtor-

Defendant was required to report were: “You went to work since your last report or you return to

work in the future,” and “You already reported your work, but your duties or pay have changed.”

See Exhibit C at 3.

       20.     On or about October 24, 2014, SSA again informed Debtor-Defendant that her

disability was continuing. In a section of the letter titled “Promptly Report Events Which May

Affect Your Benefits,” SSA reminded Debtor-Defendant again that she must tell SSA if she

“returned to work since [her] last report or [she] return[s] to work the future (no matter how little

[she] earn[s]);” or if she “previously reported work, but the duties or pay have changed.” She




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was again informed that if she failed to do so, she may have to repay benefits not due. See

Exhibit D at 1.

        21.       Debtor-Defendant never initiated contact with SSA regarding her work or

earnings.

        22.       Debtor-Defendant concealed her work activity and earnings from SSA.

      DEBTOR-DEFENDANT WAS OVERPAID FROM 2003 to 2004 and 2010 to 2017

        23.       In 2014, SSA mailed Debtor-Defendant a work activity report (SSA-821) after an

internal earnings alert was triggered. That work activity report requested that Debtor-Defendant

report all of her work activity since March 21, 2007. See Exhibit E at 9.

        24.       On June 20, 2014, Debtor-Defendant responded that she was not self-employed

during the relevant time period, nor did she work. Id. at 1-18. Instead, Debtor-Defendant stated

that she braids friends’ and families’ hair, and that any money they pay her is reported on her

annual tax return. Debtor-Defendant provided worksheets indicating her annual earnings from

2007 through 2013: $7,390 in 2007; $4,260 in 2008; $6,235 in 2009; $4,250 in 2010; $6,000 in

2011; $6,163 in 2012; and $6,150 in 2013. Id. at 19-38.

        25.       The SSA followed up with specific questions based on information provided in

the internal earnings alert, and in response to those questions, Debtor-Defendant responded that

she stopped braiding hair for family and friends in March 2014. See Exhibit E at 35.

        26.       SSA also asked Debtor-Defendant to explain her work for East Lansing Dental.

Id.   Debtor-Defendant stated that she does not work at East Lansing Dental, but that she

volunteers there. She said that she has no job title, is not responsible for anything, has no work




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schedule, and receives no wages or compensation. Id. at 35. She further indicated, “I do not get

paid by anyone as I have said before.” Id. at 36.

       27.     SSA’s Office of Inspector General conducted an independent investigation related

to Debtor-Defendant’s work activity in and around the same time, and that investigation was

completed in approximately 2017.

       28.     On November 7, 2017 SSA issued a Notice of Proposed Decision. See Exhibit F

at 1. The notice indicated that SSA had reviewed Debtor-Defendant’s work and earning for

February 1996 through November 2017. Id. That review found that Debtor-Defendant was not

entitled to DIB for January 2003 through September 2004 and January 2010 and continuing,

because of work performed. Id.

       29.     The notice explained that SSA’s record of Debtor-Defendant’s earnings and

reports from her employers indicated that she worked for Physicians Health Plan from January to

December 2002; Capitol Area Transportation from January to December 2001; Nations Title

Agency of Michigan from January 2003 to December 2004; State of Michigan from January

1996 to December 2000; Charming Shoppes Inc. from January 2001 to December 2002 and had

self-employment income from January 2005 and continuing. Id. at 2.

       30.     Debtor’s trial work period months were July through September 2001, and

February through July 2002, and her disability ended in August 2002. See Exhibit B at 2.

However, she was entitled to payment in the month in which the disability ended and in the two

following months. Furthermore, she was entitled to a 36-month extended period of eligibility that

began in August 2002, during which she was entitled to payment only for months in which she

did not perform substantial gainful activity. Id. at 2.



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       31.     The November 7, 2017 Notice of Proposed Decision informed Debtor-Defendant

that if she believed SSA was incorrect in its determination, she should provide additional

information to SSA within ten days. See Exhibit F at 1.

       32.     On November 22, 2017, after Debtor-Defendant did not respond to SSA’s Notice

of Proposed Decision, SSA issued a revised decision, adopting the findings of the proposed

decision—that is, that Debtor-Defendant was not entitled to payments between January 2003 and

September 2004, and January 2010 and continuing, because of substantial work. See Exhibit G at

1.

       33.     On December 12, 2017, SSA advised Debtor-Defendant that she had been

overpaid in the total amount of $146,226.60, that she received between January 2003 and

September 2004, and January 2010 through November 2017, while not entitled to those benefits.

See Exhibit H at 1. 3

       34.     Although SSA’s decisions advised Debtor-Defendant of the right to seek

administrative review, Debtor-Defendant did not seek such review. Debtor-Defendant’s failure to

promptly and accurately report her ongoing work activity from 2002 through 2017 in accordance

with her reporting responsibilities caused SSA to overpay Debtor-Defendant benefits to which

she was not entitled in an amount totaling $146,226,60. See Exhibit B at 3, 5.

       35.     Moreover, Debtor-Defendant’s assertions in July 2014 that she was not employed,

had no wages or compensation, and was not paid, were knowingly false. See Exhibit E at 35-36.




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 Debtor-Defendant was overpaid $164,043.60, but SSA subtracted from that total a previously
waived overpayment calculated in 2005 in the amount of $17,817.00.


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          DEBTOR-DEFENDANT PLED GUILTY TO SOCIAL SECURITY FRAUD

        36.     On February 1, 2018, the United States Attorney for the Western District of

Michigan charged Debtor-Defendant with Social Security Fraud in the District Court for the

Western District of Michigan, Case No. 1:18-cr-18. See Exhibit I. The Felony Information

charged Debtor-Defendant with “knowingly and willfully making false statements and

representations of material facts in a Social Security Administration Statement of Claimant or

Other Person (OMB Form 0960-0045),” in violation of 42 U.S.C. § 408(a)(3). See Id.

        37.     On February 5, 2018, Debtor-Defendant entered a guilty plea, admitting that she

“made a false statement or representation; the statement or representation was for use in

determining the right to a federal benefit; and that the statement or representation was of a

material fact.” See Exhibit J at 1, ¶ 2.

        38.     Debtor-Defendant also acknowledged that “the time period for which she may be

responsible for an administrative overpayment may be longer than the time period determined

for criminal fraud loss and restitution,” Id. at 2, ¶ 4. That longer time period is set forth in the

allegations above, which Debtor-Defendant has not challenged in the administrative

overpayment proceeding.

        39.     Debtor-Defendant was sentenced on May 21, 2018 to a two-year term of

probation, as well as, criminal restitution. See Exhibit K at 2, 4.

 EXCEPTION FROM DISCHARGE OF DEBT OWED BY DEBTOR-DEFENDANT TO
               SSA PURSUANT TO 11 U.S.C. § 523(a)(2)(A)

        40.     The allegations contained in paragraphs 1 through 39, above, are incorporated

herein by reference.




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       41.     Debtor-Defendant had a duty to timely and accurately report her work activity and

earnings to SSA.

       42.     Debtor-Defendant had a duty not to make false statements about her work activity

and earnings to SSA.

       43.     Debtor-Defendant, by her failure to report her earnings to SSA, concealed

material facts from SSA and thereby fraudulently misrepresented her eligibility for benefits.

       44.     Debtor-Defendant, by making false statements to SSA, concealed material facts

from SSA and thereby fraudulently misrepresented her eligibility for benefits.

       45.     Debtor-Defendant’s knowing and willful failure to inform SSA that she worked

and earned income in an amount sufficient to constitute SGA, induced SSA to overpay benefits

to Debtor-Defendant.

       46.     SSA justifiably relied on Debtor-Defendant to timely and accurately report her

employment and earnings.

       47.     Debtor-Defendant’s failure to timely and accurately report her employment and

earnings, induced SSA into an overpayment in the amount of $146,226.60.

       48.     Pursuant to Section 523(a)(2)(A) of the Bankruptcy Code, the overpayment of

$146,226.60 is a nondischargeable debt in Debtor-Defendant Sanders’ bankruptcy case.

    WHEREFORE, the United States of America, for SSA, respectfully requests that this

honorable Court:

    (1) Find that $146,226.60 owed by Debtor-Defendant Sanders to the United States of

America, SSA, constitutes a nondischargeable sum pursuant to 11 U.S.C. § 523(a)(2)(A);




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     (2) Enter judgment against Debtor-Defendant Sanders and in favor of the United States of

America in the principal amount of $146,226.60, plus interest at the judgment rate;

     (3) Order that SSA may set off or recoup any future benefits, pursuant to DIB, Social

Security Income (“SSI”), Retirement Survivor Income (“RSI”), or otherwise, that Debtor-

Defendant Sanders may receive, which it may apply to satisfy the judgment without violating the

automatic stay in this case or any other injunction;

     (4) Order that SSA may set off any remaining sums owed by Debtor-Defendant Sanders

against tax refunds or other withholdings to the extent authorized by law;

     (5) Order that if Debtor-Defendant Sanders should die prior to fully satisfying her debt to

SSA, SSA shall have a claim against Debtor-Defendant Sanders’ estate for any and all remaining

amounts owed to SSA, and will be given priority over other claims, pursuant to 31 U.S.C. §

3713, if there are insufficient assets in the estate to pay other claims;

     (6) Order that if Debtor-Defendant Sanders defaults on her repayment obligations, SSA

reserves the right to pursue all legal means to collect the outstanding debt, including, but not

limited to, placement into the Treasury Offset Program, Administrative Wage Garnishment, and

any other legally available means for collection of the debt; and




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    (7) Award the United States of America, SSA, such other relief as the Court may deem

appropriate.


Dated: June 18, 2018                      Respectfully submitted,

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                                          United States Attorney

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